STATEMENT OF FACTS.
On August 4, 1928, the board of commissioners of Grady Drainage District, comprising lands in Jefferson and Lincoln counties, filed a petition in the Lincoln Circuit Court, stating that said board of commissioners had determined to have plans and assessments for the widening, cleaning out and constructing lateral ditches in said district.
On August 17, 1928, a petition, purporting to be signed by a majority in number, acreage and value of the landowners within Grady Drainage District in Lincoln and Jefferson counties, Arkansas, representing that the board of commissioners of said district had caused plans and an estimate of cost for opening, widening and digging lateral ditches in said district, and asking that the assessment of benefits to the real property within the district made by the commissioners be approved, and that an order be given to said board of *Page 347 
commissioners to proceed with the improvement, was filed.
On the 14th day of September, 1928, T. H. Free and other landowners within the district filed a remonstrance against the petition, on the ground that it had not been signed by a majority of the landowners. They also demurred to the petition on the ground that the circuit court was without jurisdiction to proceed in the matter.
The record shows that the Grady Drainage District was organized by judgment of the Jefferson Circuit Court on March 30, 1922, in pursuance of 3607-3655 of Crawford  Moses' Digest. The record also shows that the larger area of land in the district is in Lincoln County.
The court sustained a demurrer to the petition; and, the petitioners refusing to plead further, it was adjudged that their petition be dismissed. The commissioners of said drainage district have appealed to this court.
(after slating the facts). Grady Drainage District contains land both in Jefferson County and in Lincoln County, Arkansas. It was organized under 3607-3655 of Crawford  Moses' Digest.
Section 3607 contains a clause that, if land in more than one county is embraced in a proposed drainage district, the application shall be made to the circuit court of either county, and all proceedings shall be had in such county. Hence the district was properly organized by the circuit court of Jefferson County.
Section 3607 was amended by 1 of act 353 of the Acts of 1921. See General Acts of 1921, p. 388. The amendment provides that if lands in more than one county are embraced in the district, the application shall be addressed to the circuit court of the county in which the greater portion of the land lies, and all proceedings shall be had in such circuit court.
In Indian Bayou Drainage District v. Dickie,177 Ark. 728, 7 S.W.2d 794, it was held that the commissioners *Page 348 
of a drainage district are empowered to preserve the district improvement without a petition from the landowners, if the necessary funds are available for that purpose. It was further held that, if it is proposed to do additional work, that is, work not contemplated by the original plans, it would be necessary to proceed by a petition of the landowners under act 203 of the Acts of 1927. See Acts of 1927, p. 680. Under 3 of that act the commissioners are empowered to file plans for additional work when a petition has been filed with the county court, signed by a majority in numbers, acreage and value of the landowners within the district, praying that the work as provided in the plans shall proceed. Hence it is sought to uphold the action of the circuit court in sustaining a demurrer to the petition because it was not filed in the county court as directed by the act of 1927, under which the commissioners were proceeding to act.
We do not agree with counsel in this contention. The act of 1927 in question was passed in aid of drainage districts established under 3607-3655 of Crawford 
Moses' Digest. Under the original act the commissioners of drainage districts had no power to construct lateral ditches or to enlarge the original ditches unless they had funds for that purpose on hand. The object of the amendment was to confer upon the commissioners these additional powers.
The settled rule to be followed in the interpretation of an amendment is that the Legislature must be presumed to have had in mind existing statutes on the subject, and the courts will review and interpret the words used in the amending statute as they were used and interpreted in the statute existing at the time of the amendment. McIntosh v. Little Rock, 159 Ark. 607,252 S.W. 605, and American Woodenware Mfg. Co. v. Schorling, 96 Ohio St. 305, 117 N.E. 366, Ann. Cas. 1918D, p. 318.
Now, 3607 of the Digest contains a clause which says that whenever the words "county court" or *Page 349 
"county judge" are used in the act, they shall be construed to mean "circuit court" or "circuit judge," in cases where the district contains lands in more than one county. It will be presumed that the Legislature had this legal definition of the words "county court" in mind when it passed the act of 1927 in aid of drainage districts. It would be just as necessary to enlarge and add laterals to drainage districts situated in more than one county as it would be to perform such work where the drainage district was situated wholly within one county. Hence it must be presumed that the Legislature had in mind that, when a drainage district was situated in more than one county, the words "county court," as used in the amending act, should be given the meaning of "circuit court" as prescribed by 3607 of the Digest.
In this view of the matter, the circuit court erred in holding that the proceedings should be had in the county court, or in the Jefferson Circuit Court, where the district was originally organized.
Section 3607 of the Digest was amended by the Acts of 1921, above referred to, so that, if lands in a drainage district are in more than one county, the application should be addressed to the circuit court in which the larger portion of the lands lie, and all proceedings shall be had in the same circuit court. Now, the matter in question was a proceeding within the contemplation of that amendment. The record shows that the larger body of lands in the district was situated in Lincoln County.
Hence the Lincoln Circuit Court had jurisdiction of the proceedings, and the court erred in not so holding; and the judgment will be reversed, and the cause will be remanded for further proceedings in accordance with law and not inconsistent with this opinion. *Page 350 